                 Case 2:17-cr-00149-TLN Document 45 Filed 10/25/17 Page 1 of 3


 1   PRECILIANO MARTINEZ
     ATTORNEY AT LAW
 2   State Barth No. 93253
     1120 14 Street, Suite 5
 3   Modesto, CA 95354
     (209)579-2206/ (209)579-2211 Fax
 4

 5   Attorney for Defendant
     Rigoberto Nunez
 6

 7                                  UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10                                                )
     UNITED STATES OF AMERICA,                    ) CASE NO. 2:17-CR-00149-TLN
11              Plaintiff,                        )
12
          vs.                                     ) STIPULATION AND ORDER TO
                                                  ) CONTINUE STATUS CONFERENCE
13   RIGOBERTO NUNEZ,                             )
     OSCAR ANDRADE,                               )
14
     OSCAR RODRIGUEZ,                             )
15                                                )
                      Defendants.                 )
16

17
               IT IS HEREBY STIPULATED by and between Assistant United States Attorney James
18
     Conolly, Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant
19

20   Rigoberto Nunez, Attorney Dina L Santos, Counsel for Defendant Oscar Andrade, and Attorney

21   David D. Fischer, Counsel for Defendant Oscar Rodriguez that the status conference date
22
     scheduled for October 26, 2017 at 9:30 a.m. be vacated, and a status conference be scheduled
23
     for January 4, 2018 at 9:30 a.m. The Court is advised that counsel have conferred about this
24
     request that they have agreed to the court date of January 4, 2018 and that Mr. Conolly, Ms.
25

26   Santos, and Mr. Fischer have authorized Preciliano Martinez to sign this stipulation on their

27   behalf.
28




                                                   1
               Case 2:17-cr-00149-TLN Document 45 Filed 10/25/17 Page 2 of 3


 1          The parties agree and stipulate that time should be excluded under 18U.S.C. § 3161 (h)
 2
     (7)(B)(iv) up to and including January 4, 2018 to review discovery with the client, the ends of
 3
     justice are served by a granting an exclusion of time, outweighing the best interests of the public
 4

 5   and the defendants in a speedy trial.

 6

 7
                                                                  Respectfully Submitted,
 8

 9   Dated: October 24, 2017                                      /s/ Preciliano Martinez
                                                                  Preciliano Martinez
10
                                                                  Attorney for Defendant
11                                                                Rigoberto Nunez

12   Dated: October 24, 2017                                      /s/ James Conolly
                                                                  Assistant U.S. Attorney
13
                                                                  Attorney for Plaintiff
14

15   Dated: October 24, 2017                                      /s/ Dina L. Santos
                                                                  Dina L. Santos
16
                                                                  Attorney for Defendant
17                                                                Oscar Andrade

18

19
     Dated: October 24, 2017                                      /s/ David D. Fischer
                                                                  David D. Fischer
20                                                                Attorney for Defendant
                                                                  Oscar Rodriguez
21

22

23

24

25

26

27

28




                                                      2
               Case 2:17-cr-00149-TLN Document 45 Filed 10/25/17 Page 3 of 3


 1                                                ORDER
 2
            Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
 3
     that the current October 26, 2017, status conference is hereby vacated and a status conference
 4

 5   for these defendants is set for January 4, 2018, at 9:30 a.m.

 6   Dated: October 24, 2017
 7

 8

 9                                                            Troy L. Nunley
                                                              United States District Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                      3
